3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law1 of 10 Pageid#:
                                                          9804

  Standing Up for Charlottesville
  Students, Faculty, Alumni and Staff Bear Witness to Protests as They Defend
  Community




  Roommates Elizabeth Sines ’19 and Leanne Chia ’19 witnessed much of the violence this weekend in Charlottesville. “We
  will keep showing up, every single time it’s necessary,” they said. Photos by Julia Davis


  August 16, 2017                        Mary Wood

  When Elizabeth Sines ’19 heard about a brewing march by white supremacists on the Lawn, then saw the men
  gathering as she drove nearby, she called her roommate, Leanne Chia ’19. Did she want to come? She did. The two
  University of Virginia School of Law students quickly found and followed the group of mostly white men on Friday
  as they marched up the Lawn toward the Rotunda, carrying tiki torches and chanting “Jews will not replace us” and
  “White lives matter.”

  Soon the men would circle around the Rotunda to the statue of Thomas Jefferson, where a hastily assembled group
  of UVA students and community members surrounded the statue and held up a homemade sign that said, “VA
  Students Act Against White Supremacy.”

  Then the rallying men attacked the counter-protesters, beat them with tiki torches and sprayed them with chemicals,
  until the police stepped in to disperse the crowd. Sines captured the video of the march and aftermath on Facebook
  Live, and the video went viral, collecting almost a million views. Chia and Sines have since told their story to The
  New York Times, MTV and Pantsuit Nation.


https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          1/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law2 of 10 Pageid#:
                                                          9805
  Throughout the weekend, Sines, Chia and several other Law School students, alumni, professors and staff stepped
  up to defend their community, their beliefs and the rule of law from a shocking series of events that many considered
  unthinkable — and some consider a reawakening — in Charlottesville. The town was the site of violence as white
  supremacists invaded from across the nation, organized in response to the proposed removal of the Robert E. Lee
  statue in Emancipation Park.

  The Unite the Right rally was supposed to start downtown on Saturday at noon. But in town on Friday night, events
  kick-started early.

  “There were not a lot of other people engaging, it was so intimidating,” Sines said of march they followed up the
  Lawn. But also, as she repeatedly told her Facebook audience while tracking the marchers, there were very few
  students around at all because school was not in session. In the end, the men “paid us no mind,” she said, as the
  students took on the roles of journalists, and the marchers laughed and waved at their phones.

  On Saturday afternoon, Sines and Chia euphorically marched down Water Street with a massive group of counter-
  protesters who had, in effect, taken back Charlottesville. By then, police had deemed the main assembly of white
  supremacists in Emancipation Park unlawful just as it officially began, and dispersed the crowd. But counter-
  protesters continued to demonstrate, and in their moment of elation, a Dodge Challenger driven by James Alex
  Fields came barreling down on them. Local resident Heather Heyer, a counter-protester, was killed, and at least 19
  others were injured. (Later in the day two policemen died in a helicopter accident.)

  Chia and Sines missed being hit by just a couple feet. Sines later recalled Chia’s arm pulling her into a doorway,
  possibly saving her from injury as the car backed up. After the shock died down, and after helping other people on
  the scene in need, the pair retreated to the home of law student Josh Lefebvre ’19 to begin to understand what had
  happened. As they told their story, the pair seemed hopeful for the future. They wrote in The New York Times, “We
  witnessed domestic terrorism in our home. Neither of us regrets attending the rally, and we will keep showing up,
  every single time it’s necessary.”

  We’ve collected stories of UVA Law community members doing just that. By Wednesday, we had talked to several,
  though not all, who participated in events this weekend. The text below offers a rough chronological timeline of what
  community members were doing this weekend. Two that we interviewed — lecturer Kim Rolla ’13 and Professor
  Barbara Armacost ’89 — served as National Lawyer Guild legal observers. The interviews have been edited and
  sometimes condensed for clarity.


  FRIDAY
  SINES: I was already on campus and I was driving around and I noticed that there were people carrying [unlit]
  torches.

  ARMACOST: At about 9:30 I was walking home from an interfaith service at St. Paul’s Episcopal Church led by
  clergy preparing to counter-protest. I saw a group of men gathering on Nameless Field. As I watched from the
  parking lot in front of Memorial Gymnasium, the group got bigger and bigger and they began to light torches and
  march toward the lawn of my university. It was one of the most terrifying and horrible sights I have ever seen. I
  called 911.

  CHIA: By the time we got up to the viewing platform, the students were already at the base of the statue. The torch-
  light holders had surrounded them completely. I think they knew that they were going to go to the statue.



https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          2/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law3 of 10 Pageid#:
                                                          9806
  ROLLA: As a National Lawyers Guild legal observer, I witnessed a group of close to 300 torch-wielding white
  supremacists — some with firearms visible — surround a few dozen students and community members, many of
  whom were people of color.

  SINES: It was terrifying. They would form a circle around somebody, a counter-protester. They were hitting them
  with tiki torches, punching them, pushing them down to the ground. According to news reports, UVA Dean of
  Students Allen Groves ’90 was among the students around the statue and was hit by a torch.

  ROLLA: Law enforcement in the area did not intervene, and as the white supremacist mob retreated, only one was
  arrested.

  SINES: When violence broke out, that’s when it seemed like [the police] moved in, started grabbing people who
  were running out of the circle, and it looked like some kind of chemical was dispersed, pepper spray or something.
  It’s so challenging in those situations to see who’s doing what. Somehow they quelled whatever was happening.




  Ben Doherty, a lecturer and librarian at the Law School, marched with local activists.

  BEN DOHERTY, head of library instruction and research librarian: Doherty attended a service aimed at
  counter-protesters at St. Paul’s Church on Friday night, across from the Rotunda. There was fear they were going
  to march to the church after they went to the Rotunda. I couldn’t actually see them from the church. My heart goes
  out to the students. As a member of UVA, you want to be protective of the students. … The bravery of those UVA
  students was incredible.

  SINES: [Protest organizer Richard Spencer] started coming up the stairs, maybe a minute into everyone fighting. …
  It was a group of young white men. … We realized it was his security with him. They acted like we were threats. I
  couldn’t help it, it just flew out of my mouth, “You’re scared of us?” Spencer tried to yell out a statement about
  winning the streets, but his megaphone had run out of battery power. He just turned to suddenly leave. I thought at
  the time he was trying to run away from police. … Leanne and I followed him to film.

https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          3/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law4 of 10 Pageid#:
                                                          9807
  SATURDAY




  Professor Anne Coughlin and her husband, Mark, drove street medics on Saturday.

  ANNE COUGHLIN, professor: We originally thought we would be legal observers. We then did a fair amount of
  thinking about where we would be most helpful and we got involved with a group of anti-racist activists who were
  working to support Black Lives Matter in Charlottesville. Through a variety of conversations with those folks, we’d
  decided to provide off-site support. And then the irony of course was that the off-site support became very much on-
  site in a real sense. We volunteered to drive a van for the street medics working from the First United Methodist
  Church, which is across the street from Emancipation Park. From their experience at the KKK rally on July 8, they
  knew there was potential for a whole range of injuries both physical and psychological.

  We helped the medics in a variety of ways, but our main role was to drive their van whenever they needed it, where
  they needed to go in and out of the fray. We took people to the emergency room, we helped pull people out of the
  crowd who had been tear-gassed or pepper-sprayed and needed to come back to the street medic site just to be
  hosed down.

  DOHERTY: After a sunrise service at First Baptist Church, I accompanied local activist groups to serve as a buffer
  and provide emotional support as they marched through Downtown. A busload of Nazis showed up in the Staples
  parking lot, and we were pretty scared, but these four community members just happened to be walking by at the
  same time, and they stood in between us and the Nazis, which I thought was just such an amazing gesture because
  these Nazis were scary. [The Nazis] were all lined up with shields and helmets and sticks, and they just stood
  between us.




https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          4/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law5 of 10 Pageid#:
                                                          9808




  Professor Barbara Armacost served as a legal observer for the National Lawyers Guild.

  ARMACOST: Armacost, who has a master’s degree in theology, had started her day downtown with a group of
  clergy and faith leaders before she began her role as a legal observer at 10 a.m. I felt torn about how to participate
  on Saturday. As a person of faith, I believe the church must exercise a prophetic voice against injustice. People of
  faith have a moral responsibility to speak against injustice and oppression and to speak for marginalized people.
  This is about pursuing God’s purposes in the world. I wanted to be part of that prophetic voice.

  But I am also a lawyer. I decided that the best use of my time and talents was to serve as a legal observer at the
  rally. Being a legal observer was a new role for me. Legal observers wear identifying clothing (in this case green
  hats) and our role was to observe and document in writing events as they unfolded, with special attention to police
  action and interactions with counter-protesters. I was working with a team of about twenty five legal observers from
  Charlottesville, Richmond and DC. (One came all the way from Seattle!) Legal observing put us right on the front-
  line of the unrest around the park, on Market Street and on the mall. I had the privilege of working with two of our
  law students (one very closely). I knew they had my back. It made me very proud. We all saw awful things that day,
  including one observer who saw the car plow into counter-protesters. It was a very hard day.

  KEVIN COPE, research assistant professor: Toward the beginning of the day I was surprised at how civil
  people were. But that didn’t last long.

  MILA VERSTEEG, professor: We had planned to stay home. But then, as CNN showed swastika flags being
  marched on our street, we decided to go out after all. It was horrible. All this hatred in young men, who are among
  the most privileged on this planet.

  ARMACOST: There were all these screaming white supremacists in the park with all their flags, and they were
  shouting terrible things and wandering in and out. They were aiming threats at the counter-protesters, who were
  aiming threats back. It was just kind of bedlam on the streets. Lots of people had guns and shields and other
  weapons. There were multiple skirmishes between opposing groups and lots of street brawls where people got badly

https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          5/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law6 of 10 Pageid#:
                                                          9809
  hurt. I kept wondering why no one in law enforcement seemed to be intervening to break up the fights. That was
  horrifying to watch. In between it would calm down, but not for long. In retrospect I am amazed that no one started
  shooting. I am glad I didn’t think about that at the time. I would have been terrified. But I was busy trying to do a
  job.

  CHIA: We got there at 11:30. When we were driving I got these texts from friends [including Courtney Koelbel ’19
  and Amanda Lineberry ’19] who were legal observers and they were already like “Don’t come, there’s already
  fighting, it’s chaos.”

  ROLLA: One of the most consistent themes was the almost complete absence of law enforcement intervention
  during intense violence, both on Friday evening and Saturday at Emancipation Park. Law enforcement did, however,
  intervene with force and chemical agents against counter-protesters later in the day on the Downtown Mall.

  COUGHLIN: This may sound weird but it was good that we had something very specific to do. It helped me get
  through what otherwise was unbelievably terrifying. Almost right in front of me, a man pulled a handgun and
  pointed it at somebody who had thrown paper at him. I think it was paper, or something like that. In the moment, I
  had no mental space to process what I was seeing because we had a job to do. We had to keep going.

  ARMACOST: The white supremacists were frightening. The most horrifying thing was the level of their anger and
  aggressiveness. Some of them spit on the clergy. They threw insults and shouted racist and anti-Semitic epithets.
  After the unrest had been going on for at least two hours — and before the permit to use the park had even officially
  started — the police declared the gathering in the park an “unlawful assembly.” Things were clearly escalating and
  threatening to get completely out of control. The riot police moved in and used an advancing line of officers with
  helmets and shields to clear the white supremacists out of the park. One of the most moving things I saw on
  Saturday was the few moments right after the white supremacists were moved out. The counter-protesters surged in
  and for just a few minutes they held the park. There were shouts of a kind of surprised joy. There was a sense of “Oh
  my gosh, we just took over the park and drove them out.” And it was just a moment, of course, because the police
  cleared them out then too. But it was a wonderful moment.

  COPE: I think there was a sense that things were dissipating, that people were starting to disperse, but only
  starting, right? But that’s actually when things I think became more dangerous. I think people felt like they had more
  anonymity because they weren’t being monitored by a phalanx of police in riot gear. People felt freer to act on their
  impulses.

  SINES: We left [the scene at Emancipation Park], and people kept saying if you are a counter-protester, go to
  McGuffey Park. [We went there.] The only way to describe it is, it was like a resistance camp at the end of the world.
  It was only counter-protesters, and everyone was just relaxing.

  SINES: They asked us to mobilize [after hearing a report of attacks on people of color in another part of the city]. …
  We were about 300 people at this point. We just began walking, and it was unreal how beautiful the feeling was. We
  felt so strong and unified. The diversity of the group was tremendous. … It really did feel like we had won. There was
  no white activist group in sight, it felt like we had really accomplished something. We had chased these people out of
  town, if you will. We felt so safe.

  DOHERTY: Doherty marched with his wife, UVA English Professor Lisa Woolfork, and others in his group. The
  march was proceeding down Water Street and turning on to 4th Street to head to the Mall when the car plowed
  through. We were about a hundred feet behind where the car hit.



https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          6/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law7 of 10 Pageid#:
                                                          9810
  SINES: Obviously, it happened really quickly and it’s all kind a blur. We saw the crowd parting in front of us. I don’t
  know exactly how we made it over to the side of the road, but we jumped to the right side of the road. I remember
  someone getting hit in front of me, and me jumping over them. There was a doorway there and Leanne pulled me
  down into the doorway of a business. As soon as it happened, I thought this was an accident. Whoever was driving
  this car didn’t mean to, you know, press on the gas instead of pressing on the brake. But when he started to back up
  and hit more people … then it became obvious that he was trying to kill as many people as he could. That’s when the
  panic really set in for me. Someone yelled “Go to the alleys, go to the alleys.” They went into an alley, then climbed
  stairs. They were still live on their phones. I immediately started getting phone calls from my family and my friends.
  When more people came up who were traumatized by having friends hit, they shifted their attention. I think in that
  moment something just kind of clicks for you, where you just stop crying, like adrenaline or the will to help other
  people just kind of kicks in.

  CHIA: We just comforted her.

  Sines and Chia described a chaotic scene afterwards as tear gas was dispersed and medics treated the wounded
  and those in shock. The signs that people had carried in protest were now used to shield those being treated.

  CHIA: I really thought it was an organized attack. … I thought, “Time to run.” Chia and Sines ran to Lefebvre’s
  house.

  COUGHLIN: At one point we drove past one of the police barriers to get as close as we could to Market Street —
  and this was right around the time of the homicide — and a police officer came running up and screamed at us for
  breaching the barrier. We apologized and explained that we were dropping off medics and the officer immediately
  said “I’m sorry, that’s fine.” And we then apologized again, we really apologized to the officer and said, “We’re so
  sorry” and thanked them for their work, and the officer started tearing up.

  DOHERTY: All of the street medics were running as fast as they could to get to the victims. [Police and those
  nearby] eventually started getting everyone to clear the streets so the ambulances could get through. There was one
  young woman who had been hit by the car but not as badly injured as others and she was trying to find her mom.
  She had lost her cell phone when she was hit, and she was in shock, and so we ended up walking with her to go help
  her find her mother. People were just trying to help. … It was kind of amazing to see people who, when this act of
  terrorism hits, their reaction is to run as fast as they could toward the people who need help.

  COUGHLIN: We also helped to retrieve people who were traumatized psychologically by what they were seeing.
  Crying uncontrollably. People who had lost friends and family in the crowd, and that was especially true after the
  homicide. … We had mental health medics as well. Typically two medics would go and they would dart in and out of
  the crowd, and Mark and I would get as close as we could to bring them back to safety.

  KATE DUVALL ’06, Director of Student Affairs: I volunteered through National Lawyers Guild to coordinate
  local, on-the-ground jail visits from attorneys for protesters who were arrested. There were only three people
  arrested over the course of the whole weekend. After the July 8th experience [with the KKK rally], people were very
  concerned about there being mass arrests of community members who were there to protest the alt-right, because
  23 people were arrested on July 8. That wasn't the case this time; I'm not sure why.

  ARMACOST: There has been a lot of criticism of how the police handled things over the weekend. I believe some
  of that criticism is justified. But one thing the police did differently, and much better than after the KKK rally. After
  the KKK was moved out of the park on July 8, police officers dispersed peaceful and traumatized counter-protesters
  with pepper spray. But multiple times on Saturday, I saw the police stand down and just wait until the counter-
  protesters dispersed on their own. At one point I took off my legal observer hat and thanked the officer in charge for
https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          7/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law8 of 10 Pageid#:
                                                          9811
  giving us time. When he asked, “Why don’t they go home now?" I said, "White supremacists just came to our town —
  we are upset and traumatized. We need time." They gave us time, sometimes in the face of taunts and aggressiveness
  toward them.

  DOHERTY: It was a day filled with terrorism … But I’m also taking away just a real sense of gratitude from all the
  people from Charlottesville and from out of town all over the place who came downtown to defend the city …
  [including] the radical leftists who went in and just shut the protest down, not caring about their own safety and
  well-being — just went in and took big risks with both the police and these Nazis to get the whole protest shut down.
  [There were] people who really were willing to just be brave and defend the city in so many ways, and that was kind
  of heartwarming to see. There also seems to be a lot of momentum right now to actually remove the Confederate
  statues, too.

  ROLLA: Ignoring fascists and white supremacists will not make them go away. Instead we must directly confront
  them and all the ways anti-black racism still infects our culture and institutions: mass incarceration, gentrification,
  police brutality, etc.

  COUGHLIN: White people are shocked at the level of violence they saw. But for black people there’s something
  normal about the potential for such violence. And when you think about it, those alt-right Nazis — KKK, call them
  what you will, white supremacists — their message of hate is not directly targeted at me. They don’t want to kill me
  and wipe me off the face of the earth. They don’t want to annihilate me or wish I didn’t exist. That hatred,
  that impulse to annihilate, is focused on our people of color and on Jewish people too. So that’s what I feel. We have
  to acknowledge that truth without any effort to minimize it. It’s very hard. I’m in a white skin … I … I’m protected.

  We must acknowledge institutionalized racism and the toll that it’s taken on African-American lives and psyches. My
  students have been telling me these things for years. I have tried to listen and to learn what it means to be the
  everyday target of the violence that is racism. On Saturday, I felt it in my body for the first time, and I felt so sorry
  and so ashamed. I do have faith that we can continue to work together, but it’s going take some sustained work and I
  urge the University to take the first step and acknowledge its history and its racism.

  ARMACOST: I feel deep shame about what happened in my city, especially when I think of my friends and
  colleagues against whom the hatred was directed. But love is more powerful than hate. We saw a lot of loving and
  brave action on the part of many people in our city. They stood up and made their voices known on Saturday. This
  makes me cautiously hopeful for positive change. We need to stand together, and white people need to be on the
  front lines in seeking justice for all. I hesitate to feel hopeful because it’s easy to say things and it’s hard to stay
  focused and make them happen. But the outward threat of racial suppression and white supremacy was a jarring
  event that I hope is going to galvanize real resolve in Charlottesville. I was moved to hear that there were rallies
  supporting Charlottesville’s stand against white supremacy in all kinds of other cities. So, I feel hopeful.




https://www.law.virginia.edu/news/201708/standing-charlottesville                                                             8/10
3/23/2020 Case     3:17-cv-00072-NKM-JCH    Document
                                       Standing             687-2 | University
                                                Up for Charlottesville Filed 03/23/20         Page
                                                                               of Virginia School of Law9 of 10 Pageid#:
                                                          9812




  Photos from Saturday morning at Emancipation Park. Photos by Julia Davis



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    Alumni           Civil Rights          Criminal Law             Faculty   Public Service   Race and Law

    Student Life            Student Stories

    Anne M. Coughlin               Barbara E. Armacost




https://www.law.virginia.edu/news/201708/standing-charlottesville                                                          9/10
3/23/2020Case     3:17-cv-00072-NKM-JCH   Document
                                      Standing            687-2 | University
                                               Up for Charlottesville Filed 03/23/20        Page
                                                                             of Virginia School      10 of 10 Pageid#:
                                                                                                of Law
                                                         9813




https://www.law.virginia.edu/news/201708/standing-charlottesville                                                        10/10
